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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MILA FAZLOVIC                                       )
                                                    )
        Plaintiff,                                  )
                                                    )      Case No.: 1:23-cv-14087
                     vs.                            )
                                                    )      Judge Robert W. Gettleman
DD LOGISTICS, INC., an Illinois corporation,        )      Magistrate Judge Gabriel A. Fuentes
DEJAN DERIKONJIC, an individual                     )
                                                    )
        Defendants.                                 )

                    PLAINTIFF’S MOTION TO PERMIT
   SERVICE ON DEFENDANT DEJAN DERIKONJIC VIA EMAIL PURSUANT TO
         ILLINOIS SUPREME COURT RULE 102(f)(1)(B) AND FOR AN
         EXTENSION OF TIME TO ALLOW SERVICE PURSUANT TO
               FEDERAL RULE OF CIVIL PROCEDURE 4(m)

       PLAINTIFF, MILA FAZLOVIC, (hereinafter “Plaintiff”) by and through her counsel,

John C. Kreamer and Joseph E. Urani of The Kreamer Law Group, L.L.C., move this Honorable

Court for an order appointing a special process server to obtain service on Defendant, Dejan

Derikonjic, pursuant to FRCP Rule 4, and in support of said motion, state as follows:

   1. On September 29, 2023, Plaintiffs sent Waiver and Notice of a Lawsuit and Request to

       Waive Service of Summons to Defendants DD Logistics, Inc.’s, and Dejan Derikonjic’s

       attorney, Borjan Kovacevic, along with copies of the Complaint.

   2. On October 20, 2023, Plaintiff sent an e-mail correspondence to Defendant Dejan

       Derikonjic and copied Attorney Borjan Kovacevic, reminding them of the upcoming

       deadline date for the signed Waiver of Service of Summons.

   3. On November 6, 2023, Plaintiff sent follow-up email correspondence to Attorney Borjan

       Kovacevic with a final request for the signed Waiver of Service of Summons. Attorney
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   Kovacevic replied that he has not heard from Defendant Dejan Derikonjic and will reach

   out to him.

4. To date, Plaintiff has not received any response to the first Waiver request.

5. To date, Plaintiff has not received the first Waiver or Notice of Waiver returned

   unaccepted or undelivered.

6. On November 20, 2023, Plaintiff filed a summons to be issued by the Clerk of the Court.

7. On November 27, 2023, this Honorable Court granted the Plaintiff's Motion to Appoint

   Special Process Server Elite Process Serving, and to extend the time for service pursuant

   to FRCP 4(m).

8. The Process Server was able to successfully serve the corporate Defendant on December

   13, 2023, and proof of service for the same was filed on December 15, 2023. Defendant

   Derikonjic is the Registered Agent for the Defendant Corporation.

9. To date, however, the individual Defendant has been evading service. Elite Process

   Service has attempted service on Defendant Derikonjic at his Burr Ridge home on

   December 6th, 7th, 8th, 9th, and 19th. (See Exhibit #1) Elite Process Service also

   attempted service on the Defendant at his place of business on November 30, 2023,

   December 1, 2023, December 4, 2023, December 6, 2023, and December 7, 2023. (See

   Exhibit #2)

10. Plaintiff's counsel has recently come to learn that Defendant Derikonjic may be planning

   on leaving the country to travel to Serbia where the Defendant maintains citizenship and

   a home. (See Exhibit #3)

11. At the same time, Defendant Derikonjic has been selling off a number of his residential

   rental properties in the Chicagoland area, he currently has his personal Burr Ridge
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   residence for sale, and he has closed two of his transportation businesses, Global

   Expedited LLC, and DD Truck Center LLC.

12. Plaintiff's counsel has also learned that Defendant Derikonjic was informing staff

   months ago that he had already left the country, but this was untrue as he was located at

   the Compass Arena Bar and Restaurant on Saturday, December 16, 2023, and he was

   spotted at the Fuller's Car Wash located in Hinsdale, Illinois on Monday, December 11,

   2023.

13. Illinois Supreme Court Rule 102. Service by Special Order of Court. Upon motion

   brought pursuant to Section 2-203.1 of the Illinois Code of Civil Procedure, the court

   may order service of summons and complaint to be made in a manner consistent with due

   process and subject to provisions of this paragraph.

           (1) If the court is satisfied that the defendant/respondent has access to and the

           ability to use the necessary technology to receive and read the summons and

           documents electronically, the following alternative methods of service or

           combination of methods of service may be ordered by the court when granting a

           motion brought pursuant to Section 2-203.1 of the Illinois Code of Civil

           Procedure (735 ILCS 5/2-203.1).

           (A) Service by social media. Service by social media shall be made by (i) sending

           a direct message to the defendant/respondent on a social media platform on which

           the defendant/respondent has an active profile; (ii) attaching a copy of the

           summons, complaint/petition, and any other required documents to the direct

           message; and
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        (iii) stating in the body of the direct message: “Important information—You have

        been sued. Read all of the documents attached to this message. To participate in

        the case, you must follow the instructions listed in the attached summons. If you

        do not, the court may decide the case without hearing from you, and you could

        lose the case.”

        (B) Service by e-mail. Service by e-mail shall be made by (i) sending an e-mail to

        the defendant/respondent at his or her current e-mail address; (ii) attaching a copy

        of the summons, complaint/petition, and any other required documents to the e-

        mail; (iii) stating in the subject line of the e-mail message : “Important

        information—You are being sued”; and (iv) stating in the body of the e-mail:

        “You have been sued. Read all of the documents attached to this e-mail.

        To participate in the case, you must follow the instructions listed in the

        attached summons. If you do not, the court may decide the case without hearing

        from you, and you could lose the case.”

 14.    Defendant is a sophisticated businessman engaged in multiple businesses

 including interstate commerce. In the past, Dejan Derikonjic regularly communicated

 with the Plaintiff through email, text messaging, and Facebook making him quite familiar

 with technology that he has regular access to.

 15.    Plaintiff is diligently working on trying to effectuate service in this matter. In

 light of the above, Plaintiff also respectfully requests that the Court extend the time to

 effectuate service for an appropriate period pursuant to FRCP 4(m) and to allow service

 via email under Illinois Supreme Court Rule 102.
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       16. Plaintiff does not seek this order to create any undue delay in this matter, nor will the

       entry of this matter create any prejudice to any party.

       WHEREFORE, Plaintiff prays that this Court enters an order granting this motion to

appoint a Special Process Server in this matter, and to extend the period of time to effectuate

service on Defendant, Dejan Derikonjic, and for any further relief the Court deems appropriate.



                                              Respectfully Submitted,
                                              MILA FAZLOVIC


                                              /s/ John C. Kreamer
                                              One of Plaintiff’s Attorneys


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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on December 21, 2023 he electronically filed
Plaintiff’s Motion to Appoint Special Process Server with the Clerk of Court using the CM/ECF
system, which will send notification of such filing to any and all registered CM/ECF
participant(s).

                                     /s/ John C. Kreamer /s/
